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                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION

JOSEPH POPPELL; K.L.M., through her )
Next of friend, JOSEPH POPPELL, ET AL )
                                      )
             Plaintiffs,              )
                                      )
      vs.                             )             CIVIL ACTION NO.
                                      )             2:19-CV-00064-LGW-BWC
CARDINAL HEALTH, INC., ET AL          )
                                      )
             Defendants               )

                   CONSENT MOTION & PROPOSED ORDER

         COME NOW Plaintiffs and Defendants Rainbow Drug Store, Inc., Richard D.

Griffis, Jr. and Richard D. Griffis, III in the above captioned action, by and through

their undersigned counsel, and file this Consent Motion to extend these Defendants

time to answer, move or otherwise respond to Plaintiffs, Complaint until June 18,

2019. Additionally, these Defendants will answer Plaintiffs’ First Discovery Requests

by the earlier of August 18, 2019 or ten (10) days following the Court ruling on any

motion to dismiss.

         This 23rd day of May, 2019.


                               Signatures on Next Page




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                                     Respectfully submitted,
                                     SAVAGE TURNER DURHAM, PICKNEY
                                     & SAVAGE

                                     /s/ James D. Durham
                                     James D. Durham, Esq.
                                     Georgia Bar No. 235515
102 E. Liberty Street, 8th Floor
Savannah, Georgia 31401
                                     Counsel for Plaintiffs



                                     LEWIS BRISBOIS BISGAARD & SMITH
                                     LLP

                                     /s/Jeffrey S. Ward
                                     Jeffrey Ward
24 Drayton Street, Suite 300         Georgia Bar No. 737277
Savannah, Georgia 31401
                                     Counsel for Defendants Rainbow Drug Store,
                                     Inc., Richard d. Griffis, Jr., and Richard D.
                                     Griffis, III




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                           CERTIFICATE OF SERVICE


         A true and correct copy of the foregoing Consent Motion & Proposed Order

has been served upon Clerk of the Court using the CM/ECF system, which will send a

notice of electronic filing to Plaintiff’s counsel and all counsel for defendants on this

23rd day of May, 2019:

John E. Floyd, Esq.                      James D. Durham, Esq.
Benjamin E. Fox, Esq.                    Savage Turner Durham, Pickney & Savage
Steven J. Rosenwasser, Esq.              102 E. Liberty Street, 8th Floor
Manoj S. Varghese, Esq.                  Savannah, Georgia 31401
Bondurant, Mixson & Elmore, LLP
1201 W. Peachtree Street, NW             Christopher W. Madel, Esq.
3900 One Atlantic Center                 Madel, PA
Atlanta, Georgia 30309                   800 Pence Building
                                         800 Hennepin Avenue
                                         Minneapolis, MN 55403
Ronald E. Harrison, II, Esq.
The Harrison Firm
1621 Reynolds Street
Brunswick, Georgia 31520

         This 23rd day of May, 2019.
                                         Respectfully submitted,
                                         LEWIS BRISBOIS BISGAARD & SMITH
                                         LLP

                                         /s/Jeffrey S. Ward
                                         Jeffrey Ward
24 Drayton Street, Suite 300             Georgia Bar No. 737277
Savannah, Georgia 31401
                                         Counsel for Defendants Rainbow Drug Store,
                                         Inc., Richard d. Griffis, Jr., and Richard D.
                                         Griffis, III


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                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION

JOSEPH POPPELL; K.L.M., through her )
Next of friend, JOSEPH POPPELL, ET AL )
                                      )
             Plaintiffs,              )
                                      )
      vs.                             )              CIVIL ACTION NO.
                                      )              2:19-CV-00064-LGW-BWC
CARDINAL HEALTH, INC., ET AL          )
                                      )
             Defendants               )

                                       ORDER

         The parties consent motion to extend time for Defendants Rainbow Drug Store,

Inc., Richard D. Griffis, Jr. and Richard D. Griffis, III to move, answer or otherwise

respond to Plaintiffs’ Complaint having come before the Court, it is hereby

ORDERED that the motion is GRANTED. These Defendants shall have until June

18, 2019 to respond to Plaintiffs’ Complaint and until August 18, 2019 or ten (10)

days after the Court’s ruling on any motion to dismiss to respond to Plaintiffs’ first

discovery requests; whichever occurs earlier.

         This ___________ day of May, 2019.

                                               ______________________________
                                               Judge
                                               USDC Southern District of Georgia
                                               Brunswick Division




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